     Case 1:20-cv-05739-CBA-SJB Document 1-2 Filed 11/25/20 Page 1 of 5 PageID #: 7
FILED: QUEENS COUNTY CLERK 08/14/2020 11:30 AN                                               INDEX NO. 713036/2020
NYSCEF DOC. NO. 1                                                                    RECEIVED NYSCEF: 08/14/2020

            SUPREME COURT OF THE STATE OF NEW YORK                         Index No.:
          • COUNTY OF QUEENS                                               Date Purchased:
                                                                     X
           ROGER RAMSAROOP,
                                                                          SUMMONS
                                         Plaintiff,
                                                                          Plaintiff designates Queens
                                                                          County as the place of trial.
                        -against-
                                                                          The basis of venue
                                                                          Plaintiff residence
                                                                          Plaintiff resides at:
           UNITED AIRLINES,INC.,                                          12 Muhlebach Court, Apt. #2
                                                                          Far Rockaway, NY 11691
                                        Defendant.
                                                                    X     County of Queens

          To the above named Defendant:
                   You are hereby summoned to answer the complaint in this action, and to serve a
          copy of your answer, m, if the complaint is not served with this summons, to serve a notice of
          appearance on the Plaintiffs attorneys within twenty days after the service of this summons,
          exclusive of the day of service, where service is made by delivery upon you personally within the
          state, or, within 30 days after completion ofservice where service is made in any other manner.
          In case of your failure to appear or answer,judgment will be taken against you by default for the
          relief demanded in the complaint.
          Dated: Garden City, New York
                  August 13,2020
                                                                   —)
                                                              HERMANN P. GRUBER
                                                              STEINBERG 8c GRUBER,P. C.
                                                              Attorneys for Plaintiff
                                                              300 Garden City Plaza, Suite 218
                                                              Garden City, New York 11530
                                                             (516)663-0999

          TO:
          UNITED AIRLINES,INC.
          28 LIBERTY STREET
          NEW YORK,NY 10005




                                                      1 of 5
     Case 1:20-cv-05739-CBA-SJB Document 1-2 Filed 11/25/20 Page 2 of 5 PageID #: 8
FILED: QUEENS COUNTY CLERK 08/14/2020 11:30 AM)                                                  INDEX NO. 713036/2020
N YSCEF DOC. NO. 1                                                                       RECEIVED NYSCEF: 08/14/2020




            SUPREME COURT OF THE STATE OF NEW YORK
            COUNTY OF QUEENS
                                                                         X
            ROGER RAMSAROOP,                                                   Index No.:
                                                                               Date Purchased:
                                                  Plaintiff,
                                                                               VERIFIED COMPLAINT
                          -against-

            UNITED AIRLINES,INC.,

                                                  Defendant.
                                                                        X

                  Plaintiff, ROGER RAMSAROOP,by her attorneys, STEINBERG & GRUBER,

           P. C., complaining of the Defendant, UNITED AIRLINES,INC., respectfully alleges, upon

           information and belief:

                     1.      That at the time of the commencement of this action, Plaintiff, ROGER

           RAMSAROOP resided in the County of Queens, State of New York.

                  2.         Upon information and belief, at all times hereinafter mentioned the defendant,

           UNITED AIRLINES,INC, was and still is a Delaware business corporation, licensed to do

           business in the State of New York, and existing under and by virtue of the laws of the State of

           New York., with principal offices located in the County of Queens, City and State of New York.
                  3.         Upon information and belief, defendant was the owner of the premises known and

           designated as United Airlines Cargo terminal at building 344, front lobby, at Newark Liberty

           International Airport, County of Essex, City of Newark and State of New Jersey.

                  4.         Upon information and belief, at all times hereinafter mentioned, the defendant

           was and still is the lessee of the premises known and designated as United Airlines Cargo

           terminal at building 344, front lobby, at Newark Liberty International Airport, 3 Bewster Road,

           Newark, New Jersey 07114.

                  5.         Upon information and belief at all times hereinafter mentioned, the defendant,

           operated, maintained, managed, supervised, repaired and controlled the premises including the

           automatic front doors thereat, known as United Airlines Cargo terminal at building 344, front

           lobby, at Newark Liberty International Airport, 3 Bewster Road, Newark, New Jersey 07114..




                                                          2 of 5
     Case 1:20-cv-05739-CBA-SJB Document 1-2 Filed 11/25/20 Page 3 of 5 PageID #: 9
FILED: QUEENS COUNTY CLERK 08/14/2020 11:30 AN                                                 ' INDEX NO. 713036/2020

NYSCEF DOC. NO. 1                                                                         RECEIVED NYSCEF: 08/14/2020




                  6.       Upon information and belief at all times hereinafter mentioned, the defendant,

           was under a duty to operate, manage, maintain, control ,repair and supervise the aforesaid

           premises including the automatic front doors thereat, in a safe, proper and lawful fashion, such

           that no person lawfully therein would be caused to sustain personal injuries.

                  7.       At all times hereinafter mentioned, the aforesaid premises were open for use to

           the general public and patrons of United Airlines Inc.

                  8.       That on June 19, 2018, Plaintiff, ROGER RAMSAROOP was a lawful

           pedestrian on the premises of the above-mentioned location.

                  9.       That on June 19, 2018, while the plaintiff, ROGER RAMSAROOP,was

           lawfully upon the aforesaid premises, and in particular, at the front lobby.automaticklectronie

           doors therein, when he was caused to fall due to the automatic/electronic doors closing on him

           and was violently propelled to the ground, due to the negligence of the defendant.

                    10.    That no negligence on the part of the Plaintiff contributed to the occurrence

           alleged herein in any manner whatsoever.

                    1 1.   That because of the above stated premises and sidewalk in front of same, Plaintiff,

           ROGER RAMSAROOP was caused to sustain serious injuries and to have suffered pain,

           shock and mental anguish; that. these injuries and their effects will be permanent; and as a result

           of said injuries, Plaintiff has been caused to incur, and will continue to incur, expenses for

           medical care and attention; and, as a further result, Plaintiff was, and will continue to be,

           rendered unable to perform Plaintiff's normal activities and duties and has sustained a resultant

           loss therefrom.

                    12.    That by reason of the foregoing, Plaintiff, ROGER RAMSAROOP was

           damaged in a sum which exceeds the jurisdictional limits of all lower courts which would

           otherwise have jurisdiction.




                                                            3

                                                         3 of 5
    Case 1:20-cv-05739-CBA-SJB Document 1-2 Filed 11/25/20 Page 4 of 5 PageID #: 10
FILED: QUEENS COUNTY CLERK 08/14/2020 11:30 AM)                                                INDEX NO. 713036/2020
NYSCEP DOC. NO. 1 •                                                                     RECEIVED NYSCEF: 08/14/2020




                  WHEREFORE, plaintiff demands judgment against the defendant herein in a sum that

           exceeds the jurisdictional limits of all lower courts which would otherwise have jurisdiction of

           this action, together with costs and disbursements of this action and interest thereon; and such

           other and further relief that the court deems just and proper.

           Dated: Garden City, New York
                  August 13, 2020.



                                                                 ST INBERG & tiKubiER,P.C.
                                                                 By: Hermann P. Gruber, Esq.
                                                                 Attorneys for Plaintiff
                                                                 ROGER RAMSAROOP
                                                                 300 Garden City Plaza, Suite 218
                                                                 Garden City, New York 11530
                                                                (516)663-0999


           TO:

           UNITED AIRLINES,INC.
           28 LIBERTY STREET
           NEW YORK, NY 10005




                                                            4

                                                        4 of 5
    Case 1:20-cv-05739-CBA-SJB Document 1-2 Filed 11/25/20 Page 5 of 5 PageID #: 11
FILED: QUEENS COUNTY CLERK 08/14/2020 11:30 AM)                                                 INDEX NO. 713036/2020

NYSCEF DOC. NO. 1                                                                       RECEIVED NYSCEF: 08/14/2020




                                           ATTORNEY'S VERIFICATION

                  HERMANN.P. GRUBER,an attorney duly admitted to practice before the Courts of the

          State of New York, affirms the following to be true under the penalties of perjury:

                    am an attorney at STEINBERG & GRUBER,P. C., attorneys of record for Plaintiff,

          ROGERRAMSAROOP. I have read the annexed COMPLAINT and know the contents

          thereof, and the same are true to my knowledge, except those matters therein which are stated to

           be alleged upon information and belief, and as to those matters I believe them to be true. My

           belief, as to those matters therein not stated upon knowledge, is based upon facts, records, and

          other pertinent information contained in my files.

                    This verification is made by me because Plaintiff is not presently in the county wherein

           I maintain my offices.

           Dated: Garden City, New York
                  August 13, 2020



                                                         -IERMANN P. GRUI3CR




                                                        5 of 5
